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                                                                          Page

                     UN ITE D STATES DISTR ICT COURT
                      SOUTHERN D ISTRICT O F FLORIDA
                 CA SE NO . 11-20427-WILLIAMS/TURNOFF
         DISNEY ENTERPRISES , INC .,
         TWENTIETH CENTURY
         FOX F ILM COR PORA TION ,
         UNIVERSAL CITY STUDIOS                )
         PRODUCTIONS LLLP,                     )
         COLUMBIA PICTURES                     )
         IN DU STRIES, INC ., and
         WA RNER BROS .
         EN TERTAINMENT , INC .,

                          Plaintiffs,          )
                                               )
                                               )
                                               )
         HOTFILE CORP ., ANTON                 )
         T ITOV , and DOE S 1-10

         De fendant s .
                                               )
   14
                   I G               O N         I      E N     I A

            (Pursuant to protective order, the following
               tran sc ript has b een de signat ed h igh ly
                               confidential)
   18            DE PO SIT ION O F MATTHEW LYNDE , PK .D .
                        SAN FRA NCISCO , CAL IFORN IA
   20                   FR IDAY , DECEMBER 16, 2011




         RE PORTED BY : Lind a Vaccarezza , CSR No . 10201
   25    JOB NO .   44313

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    2
    3
    4

                                         DECEMBER 16, 2011

                                         10 :07 A .M .



                    Deposition of MATTHEW LYNDE, Ph .D.,

            held at the o ffices o f Farella,

            Braun & Ma rte l, 235 Montgom ery

             St reet , San Francisco , Ca li forn ia, be fore

             Linda V accarezza , a R egistered
   12

             Profes sional Reporter and Certified

             Sh orthand Rep ort er of th e State of

             California .

   16




   25


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                                                                          Page
               A P    E A     A N        E S:
          ATTORNEY FOR THE PLA INTIFFS :
                JEN NER & BLOCK
                BY : STEVEN B . FABRIZIO, ESQ .
                1099 N ew Y or k A venue , NW
                W ashington , DC 20001



          A TTORNEY FOR THE DEFEN DANTS
           HOT FILE CORP ., AN D ANTON T ITOV :
                 FAR ELLA , BRA UN       MARTEL
                BY : RODERICK M . THOMPSON , ESQ .
                235 Montgom ery Street
                 San Franc isco , California 94104




   16


   18


   20




   24




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                                                                          Page 21 '
    1    Brothers only one takedown notice that was
    2    e r r on e ou s ,   do you believe that that would cause
                                                                                   i
    3    injury to Hotfile's business reputation?                                      ,
                                                                                       ?
    4                  MR. THOMPSON: Objection.                                        '
                                                                                       )
    5                  Incomplete hypothetical.                                        )
    6                           THE W ITNEss :        Well, if I
                                                                                       t
                                                                                       :
                                                                                       ,
    7                 understand your question correctly --                            j
                                                                                       1
    8                  Q.       If you don 't, I'm happy to                            1
                                                                                       ,
    9    clarify .                                                                     1
                                                                                       )
                                                                                       7
   10                 A.        once again , as I said earlier, it                     '
                                                                                       1
   11    depends on some more context to the wrongful                                  '
                                                                                       ).

   12 takedown. If,for example, there was a great                                      j
   13    deal of publicity , and impact and awareness
   14         d the Internet amongst Hotfile 's actual or                              1
         aroun                                                                         (
                                                                                       l
                                                                                       @
   15    potential customers, there might be a measurable                              i
                                                                                       l
                                                                                       é
                                                                                       .




   16 impact.                                                                          j
   17                  Q@       Any other considerations that                          l
                                                                                       y
   18    m igh t lead to a m ea su rab le impac t from a sing le                       t
                                                                                       F

   19 erroneous takedown notice?                                                       )
                                                                                       1
                                                                                       -
   20                  A.       Well, if that single notice was                        j
                                                                                       '
                                                                                       (
   21    related to a popular file, that might result in                               t
                                                                                       !
   22    some loss of actual or potential premium
                                                                                       1:
   23    subscriptions, and that could be quantifiable as                              '
   21    an impact .                                                                   i
                                                                                       )

   25                  Q.       Anything else?                                         j
                                                                                       '
                                                                                       '
                                                          .



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                                                                          Page 22 )
                                                                                  j
                                                                                       !.
                                                                                        ;
    l              A.       If a w rongful ta ked ow n no tice
                                                                                       j'
                                                                                        .

    2    resulted in , for example, erroneous termination
                                                                                       )
                                                                                       ,
    3    of a premium account, that could also have                                    '
                                                                                       p
                                                                                       r
    4    quantifiable impact .
    5              Q.       What if it resulted in an                                  '
    6    erroneous termination Of a non-premium account?                               è
                                                                                       i
    7              A.       My understanding of Hotfile 's                             )
                                                                                       )
    8 business is only premium accounts generate                                       j
                                                                                       /
                                                                                       t

    9    revenue for Hotfile, at least direct revenue.                                 )
                                                                                       1
                                                                                       ).
   10                       so if I understand your question                           )
                                                                                       1
   11    correctly, the wrongful takedown of a non-premium                             1
                                                                                       j,
   12    account would only potentially have an indirect
                                                                                       )
                                                                                       1
                                                                                       ,
                                                                                       j
   13    i                                                                             l
                                                                                       i
                                                                                       j
          mpact on revenue.                                                            (
                                                                                       ''
   14            Q.    Just to get us back to the list,                                )
                                                                                       F
                                                                                       )

   15    you referred to a great deal of publicity whether                             '
   16    the takedown might be related to a popular file,                              l
   17 or whether it resulted in an erroneous                                           j
                                                                                       (
                                                                                       .
   18    t erm inat ion .                                                              t
                                                                                       /
   19                       I                                                          !
                             s there anything else?
   20              A        Those are the principle                                    .
                                                                                       t
                                                                                       )
                       .


   21    potentially channels of, I believe, impact, in                                i
   22    response to your hypothetical question , that I                               ,
                                                                                       1
                                                                                       t
   23    can think of right now .                                                      j
                                                                                       ;
                                                                                       .i

   21              Q.       And my question was purposefully                           t
                                                                                       )
                                                                                           -



   25    targeted to a single notice, just to make the                                 '

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                                                                               Page
                   incidents of say, wrongful takedown, the
                   larger p otential imp act for rep utat ion
                   could b e in the m arketp lace , and                would
                   expand          actually          n on -linear fash ion ,
                   generally .

                   Q.       Dr . Lynde,             your damages
         ana lysis , are a1l takedown notices con sidered
         equal       terms of the economic impact they cause?

                           MR. THOMPSON: Objection. Vague.
                            THE W ITN ESS :         For th e impact
                   the wrong ful takedown notices a s a whole r
                   yes .      have not distinguish ed b etween
                   different individual wrong ful takedown
                   notices .
                   Q.       Well, broadening the question to
         go b eyond what you term the ''w rong fu l taked own

         notices,'' just in the way you do your
         ca lculat ions , are an y ta kedown not ice s treated
         different ly from any others in term s o f the
         econom ic im pact they cau se ?
   21              A.       No .    In the analysis I 've done , I
   22    have not distinguished between the impacts
         what are mo st ly , a s I unde rstand it , law fu l and
         correct takedown notices from wrongfu l takedown
         notices ,      term s o f indiv idua l imp act .


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                                                                            Page
    1               Q.     And within the category that you
    2    term ''w rongfu l takedow n n ot ices z'' is it correct
         that you also don 't distinguish from one notice
    4       the other        term s of it s e stim ated econom ic
         impact ?
                    A.     That is correct .                was not ab le
         to d istinguish between indiv idual typ es of
         wrongful takedown notices .               I 've considered them
         as a collectiv ity .
                    Q.     Just        confirm , you did not
         consider as to any ind ividual takedown notice s,
         the p ub licity       pub lic imp act that that
         particu la r notice h ad , co rrect ?

                           MR. THOMPSON: Objection.
                    Overbroad and v ague .
                           THE W ITN ESS :            did not do that
                    kind o f analysis , apart from gaining an
                    aw arene ss of -- of types of file s, for
                    examp le , that m ight have b een wrong fully
                    taken down .
   21               Q.     And is it also correct that in
         your analysis y ou did not con sider wh ether any
         individual notice referred to a file that was
   24    particularly popular or not?

                           MR . THOMPSON: Objection. Vague.

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                                                                            Page
                          THE W ITN ESS :          That is correct .   I
                   d id not have the means to potent ially
                   calibrate individua l wrongfu l ta kedown s
                   with the p opularity rating of pa rticu lar
                   files .
                   Q.     And did you look to see whether
         indiv idual takedown notices re sulted in , I thin k
    8    you termed          ''the erroneous termination of a
         prem ium accoun t n?
                   A.      I did not look to see if there was
         a particu lar link from              particu la r wrongfu l
         ta kedown to a p articu lar term inat ion o f a p rem ium
         a ccount .

                   Q.      So it 's fair to say, considering
         th e category o f ta kedow n notices th at you
         con sidered w rong fu l, you considered them as a
         group and n ot ind ividually at all ; is that
         corre ct ?
   19                      MR .   THOMPSON : Objection.
   20              ov erb road and vague .

                           THE W ITNESS :           W ell ,      be
                   specific,         have no opinion as to whether
                   the wrongfu l            I 've b een as ked to assum e
                   that there 's a finding of liability, that
                   there was a set of wrongful takedowns


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                                                                         Page 27 q
                                                                                     j

   1                     during this period of time .                                '
                                                                                     h
   2                                 And under that assump tion r I                  '
   3                     have performed my analysis looking at the
   4                     collection of alleged wrongful takedown
   5                     notices .
   6                     Q.    And not looking at any of them
   7    individually?                                                                i
   8                     A.    And I was not able to look at any                     5I


   9    particular takedown notice individually, that 's                             j
                                                                                     p
                                                                                     l
  10    CO r r e C t .                                                               l
                                                                                     (
                                                                                     t
                                                                                     '
  11                     Q.    And I appreciate your                                 ,'
                                                                                     t
  12    clarification about ''wrongfully,'' you may have                             j
                                                                                     i
                                                                                     l
  13    just saved my spa.                                                           '
                                                                                     t
  14                  In my earlier question about                                   t
                                                                                     ,;
                                                                                      i
  15    whether there was a de minimis number of takedown                            )ê
  16    notices that wouldn't cause measurable injury I                              '
                                                                                     Sj


  17    was focusing on takedown notices .
  18                           I wan t to con sid er the sam e                       '
                                                                                     L
                                                                                     '
                                                                                     l
                                                                                     ë(
  19    question from the perspective of what you termed                             y
                                                                                     !
  20    ''erroneous term inations .''                                                )
                                                                                     '
                                                                                     1
  21                           Is there, in your professional                        j
                                                                                     1
  22    judgmentr a de minimis number of erroneous user                              f
                                                                                     )
                                                                                     j
                                                                                     l
  23    terminations that you would agree as a practical                             .
                                                                                     )
  24    matter doesn't result in any measurable injury to                            j
  25    Hotfile?                                                                     1
                                                                                     i
                                                                                     .



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                                                                           Page

                         MR. THOMPSON: Objection. Vague.
                  And incomp lete hypothetical .
                          THE W ITNE SS :       W ell , I 'm not su re I

                  comp letely und erstand the context of the
                  question .      But if it could be e stab lished
                  that th ere was          w rong term in at ion that
                  wou ld n ot have occu rred b ut for a
                  wrongfu l ta kedow n , the loss of that
                   sub script ion would indeed b e a
                  quantifiab le harm              Hot file .

                  Q.      Even        it was just a single
        wrongful term ination o f a p rem ium accou nt?
                  A.      Yes .

                  Q.      And what                was a single
        erroneou s te rm ination of a non-sub scrip tion ,
        non-prem ium acc ount ?
                  A.      If I understand you r question
        correctly -- w e d iscussed thi s a litt le bit
        b efore -- th at po ssibly cou ld indirectly lead to
  20    the loss          p aying accoun t, and th ere fore
        revenue , bu t th e connection would b e , as

        understand,       little more difficult
        e stab lish .
  24                      But            could be established,
  25    then indeed the loss of              subscription account


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                                                                       Page 29
   1    would b e an econom ic h arm to Hot file .
   2              Q.      In your analysis, did you attempt
   3    to m a ke that connection b etween te rm ination s o f
   4    non -p rem ium u se rs and econom ic h arm to Hotfile ?
   5              A.      I d id not .
   6              Q.      I want to talk through the
   7    protocol you used for your d amages calcu lation s ,
   8    and so let 's tu rn to Lynde Exh ibit 1 , wh ich is
   9    the revised sch edu le .
  10                      If you n eed to re fer to you r
  11    report at any t im e , th at 's one o f the reason s I
  12    put it in front o f you .           I 'm not going to need
  13    to , but feel free i f you do .
  14              A.      zhan k you .
  15              Q.      Let 's first start with the damages
  16    m odel that 's refle cted on Schedules 1 and 1 .1 .
  17                      First , can you describ e for us the
  18    di fferen ces in how you -- in the calcu lations
  19    that are re flected on Schedu le 1 and 1 .1?
  20              A.      Yes , there 's fundam entally on ly
  21    one difference betw een Schedule 1 and Schedule
  22    1.1, and that is the assumed beginning date of
  23    the damages period .
  24                      In Schedu le 1 the assum ed
  25    beginning is February, and in Schedule 2 it is


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                                                                                   Page 75
        turns out to be about , on average ov er this
        period, about 1 .3 percent to the lost profits
        co lum n ,     result in         dam ages e stim ate .
                     Q.      In that model -- strike that .
                             Does th at m odel assum e that each

        takedown not ice sent b y Warner , whether p roperly
        or er roneou sly , is respon sib le equally for each
   8    dolla r o f lo st pro fits du e to W arner that you dv e
        calcu lated?

                             MR. THOMPSON: Objection. Vague.
                             THE W ITNESS :          If I und erstand your
                     question correctly , w ith oth er things
                     equal it does presum e an equ al im pact o f
  14                 takedow n notice s ultim ately , wh ether they
                     b e correct takedown n ot ices                   w rongfu l
                     takedown notices,                 th eir average
                     impa ct , that is correct .
  18                 Q.      Well, this question actually
  19    th is is          the ''a ll thin gs being equa l'' doesn 't
  20    really app ly, d oe s it ?           Because th ere 's
        ca lculation h ere and there 's a m od el .
                             So what I 'm rea lly trying to
        figure out               the model that you 've actually
        ca lcu lated , is th ere the assumption tha t each
        takedown notice, whether wrongful or proper, is


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                                                                               Page 83
                  be .
                                 And accord ing to th e st ructu re
                  of this m od el if th ere are takedown
                  n ot ices and those are involved w ith th e
                  redu ction in p rem ium accounts giv en in
                  that interact ion , that wou ld b e p art of
                  the model .
   8              Q.      And that is one of the assumptions
        of you r m odel , is it not , that takedown notice s
        result       lost revenues and lost p rofit s
        regardle ss o f w hether th ey are wrongful or n ot
  12    wrong ful?

                          MR. THOMPSON: Objection. Assumes
                  fact s .
  15                      THE W ITNE SS :           W ell, in        general

                  sen se, that            correct .
                  Q.      So then is it fair to say that the
  18    m ode l that you 've used assum es th at -- w ell ,
        ma ybe I shou ld put it a d ifferent way .
  20                      In the m od el that you have u sed ,
        ta kedown notices that hav e not been con sidered
        w rong ful are resp on sible for the b ulk o f the lost
        profits that Hotfile suffered from February 2011
        th rou gh Septem ber           2011; is that correct ?
                  A.         In the model that I've considered


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                                                                       Page 84
   1    here in term s of estimating damages to Hotfile
   2    from w rongfu l notices , it i s correct .
   3                     A s I consid er that -- a s I
   4    indicated earlier thi s m orn ing , th e interaction
   5    between the takedown notice process , wh ich I

   6    understand provides notice of copyrighted subject
   7    matter wh ich should n 't be on the w eb site and
   8    u lt im ately that m ight be related w ith n ot ice to
   9    up loaders , that if th ey up load cop yright ed
  10    m ater ial th ey w ill b e term inated , that th e
  11    term ination process occu rs .             And if that 's
  12    associated w ith prem ium a ccounts, that can result
  13    in a loss in revenue .
  14              Q.      And I'm not actually looking to
  15    get sort o f b eh ind the relat ionsh ip between

  16    notices and terminations just yet, I'm just
  17    talking about the model that you 'v e actually
  1a    app lied .
  19                      It calcu lates a lost p rofit s that
  20    Hotfile h as su ffered from Feb ruary 2011 th rough
  21    sep temb er 7, 2 011, correct ?
  22              A.      That is correct, it does .
  23              Q.      And it calculates a -- it
  24    calculates lost profits that Hotfile has lost in
  25    that period that are attributed to notices sent


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                                                                          Page 87
   1    be a part of the model, yes .
   2              Q.      And the causal links that you                              (.
   3    remember talking about was that it 's possible
   4    that not a11 of those correct takedown notices                               )
   5    would have resulted in terminations?                                         r
   6                      MR. THOMPSON: Objection . Assumes
   7              facts .    Calls for a legal conclusion .
   8                      THE WITNESS:            If I understand your               j
   9              question correctly , as a matter of
                                                                                     @
                                                                                     .
  10              econom ics, yes.          There would be a                         i
                                                                                     '
  11              necessity to assess the causal links from
                                                                                     l
  12              the correct takedown notices .
                                                                                     1
                                                                                     '
  13              Q.      And by the same token, you would                           q'
                                                                                     r
  14    want to assess the causal connection between the
                                                                                     )y

  15    correct takedown notices and any impact on                                   '
  16    Hotfile 's business reputation?                                              l
                                                                                     '
  17                      MR. THOMPSON: Same objection .                             ,s
                                                                                     k
  18                      THE W ITNE ss :         If I und er stand the              :
                                                                                     y
                                                                                     )
  19               question correctly, similar causal                                j
  20              mechanism would occur .                                            '
  21               Q.     And again by the same token , you
                                                                                     l
  22    would want to assess the impact on all of those                              '
                                                                                      !!
  23    correct takedown notices on whether there were                               ?
                                                                                     (
                                                                                     j
  21    term inations of prem ium users?                                             :
                                                                                     t
                                                                                     (
                                                                                     '..

  25                        MR. THOMPSON: Same objections.                           .0



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                                                                                                                                                                                                  Page 88 j
    1                                                                 THE WITNESS :                                               In parallel to the                                                        )
    2                                       discussion I put forward this morning
    3                                       about the structure of the model, yes .                                                                                                                         ,
                                                                                                                                                                                                            ;
                                                                                                                                                                                                            1
                                                                                                                                                                                                            j
                                                                                                                                                                                                            ,


    4                                       That would be a similar and parallel
    5                                       a ssessm ent .
     6                                                                                                                                                                                                      1
                           Q.    And you would Want to assess                                                                                                                                               rr
    7               hether those correct takedown notices resulted                                                                                                                                          i
                                                                                                                                                                                                            '
                w
    8           in the taking down of particularly popular files,                                                                                                                                           t
                                                                                                                                                                                                            j
                                                                                                                                                                                                            1
                                                                                                                                                                                                            l
                                                                                                                                                                                                            p
                                                                                                                                                                                                            1
                                                                                                                                                                                                            )
                                                                                                                                                                                                            -
                                                                                                                                                                                                            .
     9          corre ct ?
                                                                                                                                                                                                            t
  10                                                                  MR @ THOMPSON : Objection. Vague                                                                                                      l
  11                                        and assumes facts .                                                                                                                                             1
                                                                                                                                                                                                            j
                                                                                                                                                                                                            l
                                                                                                                                                                                                            '
  12                                                                  THE W ITNESS :                                              A s I think I                                                             (
                                                                                                                                                                                                            j
  13                                                ntioned, that might be a factor that                                                                                                                    i
                                            me                                                                                                                                                              ,k
  14                                        might be considered in such a necessity .                                                                                                                       1
                                                                                                                                                                                                            '!
  15                                        Q.                         so in considering whether the                                                                                                        j
                                                                                                                                                                                                            y
                                                                                                                                                                                                            1
                                                                                                                                                                                                            h
                                                                                                                                                                                                            '
   16            correct takedown notices were responsible for all                                                                                                                                          j
  17             of the lost profits that aren 't attributable to                                                                                                                                           1
                                                                                                                                                                                                            !
                                                                                                                                                                                                            )
   18            the wrongful takedown notices, is there anything                                                                                                                                           1
                                                                                                                                                                                                            r
                                                                                                                                                                                                            l
   19                  1                                    ld want to consider?                                                                                                                            '
                 e se you wou                                                                                                                                                                               )
  20                                                                   MR. THOMPSON: Objection.                                                                                                             l
  21                                        overbroad and vague .                                                                                                                                           l
                                                                                                                                                                                                            j
                                                                                                                                                                                                            %
  22                                                                   MR . FABRIZIO :                                                 Let me clarify that                                                  k
                                                                                                                                                                                                            l
  23                                        a little bit .                                                     Sorry .                                                                                      j
                                                                                                                                                                                                            (
                                                                                                                                                                                                            -
                                                                                                                                                                                                            )
                                                                                                                                                                                                            1
                                                                                                                                                                                                            -.

   24                                       Q*                          Just to separate our pots here .
                                                                                                                                                                                                            i
  25                                                                   We have got total lost profits
  #t
   - a'' '
         1'''' '*.
                 ...       '.â7CC
                                k.   ;ö%'   3''''   mr-'%QLY/.
                                                             '.>p1)rr
                                                                    lcy:kawvkxrk
                                                                               çx:.**.....
                                                                                         %ll.
                                                                                            pVàk'n   6z'.
                                                                                                        4à...87
                                                                                                              4x<
                                                                                                                4:
                                                                                                                 *= />33t.L.
                                                                                                                           4''
                                                                                                                             v*.... -'.' '
                                                                                                                             .           yzCe 7a?'2 JJ .
                                                                                                                                                       ''t'n: . f%âkza   f '<''   w. JJ.'''   <    '   ''   1'

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                                                                              Page 91
                  in February , in t erm s of term ination
                  notices that I would have taken into
                  account

                  Q.      Well, in your model if that
        portion o f total p ro fits that Hotfile lo st , th e
        po rtion that 's not attrib utab le                 th e w rongfu l
        ta kedown s, what else could that pool of lost
        p rofits b e attribu tab le              if not the correct
        takedown not ice s?

                          MR. THOMPSON: Objection.
                  Incomp lete hyp othetical and calls for
                  legal conclusion .
                          THE W ITNE SS :         W ell , there are
                  sev eral pa rts in the links                      logic
                  the m od el , so I want to m ake sure
                  understand your que stion .
                                But the purpose of the m odel
                  being        est im ate the lost p rofit imp act
                  due to wrongful takedowns .                 But included
                       that chain            term s             assessm ent
                  of an imp act of right ful takedown s, as I
  22              sa id , would need to b e an assessment
                  the se other factors th at would b e related
  24              to potent ial impact on revenue , wh ich we
  25              discussed, and including the change


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                                                                             Page 92
                  Hotfile policy in te rm s                 the
                  termination three strike rule in
                  February .
                  Q.      So in order to make a final
        det erm ination as t o whether the rest of the lost
        p rofit s are attribu tab le to th e correct n ot ices
        you would ne ed to loo k at thin gs like th e
   0    pub licity assoc iated w ith them , whether they are
        related to p opu lar files , wheth er they resu lted

        in erroneous t ermination or term in at ions of
        prem ium a ccoun t u sers , an d the rest o f those
        fa ctors that w e ta lked ab out earlier?

                          MR. THOMPSON: Objection.
  14              Overbroad and as ked and answ ered .
                          THE W ITNESS :         If       underst and your
                  qu est ion correct ly , I b elieve indeed
                  those need to be assessed .
                  Q.      And in your damages model, looking
        at lo st p rofit s due to w rong ful n ot ices , d id you
  20    look at any of tho se con sideration s on
        indiv idual b asis?

                          MR. THOMPSON : Objection.
                  Overbroad and vagu e .
                          THE WITNESS :          Given my review of
                  the evidence I was not aware, with


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                                                                          Page 93
   1              resp ect to the w rong ful not ice s o f
   2              informat ion , w hich would sp ecifically
   3              app ly t o the wron gfu l notice situation ,
   4              which is what I was focusing on .

   5              Q.      I'm just trying to understand why
   6    you were prepared to opine w ithout lookin g at
   7    th ose con sideration s in p articu lar , why the
   8    w rong ful not ice s resu lted in ce rtain lost
   9    p rofit s, but you 're not p rep ared to sit here and
  10    op ine as to why the right ful notice s resulted in
  11    the rest of the lost p rofits .                Th ey seem to be
  12    parallel con sid erations to m e .
  13                      MR .   THOMPSON: Objection. That's
  14              really not a question .
  15                      THE W ITNEss :          sorry , cou ld you
  16              repeat th e question?
  17              Q.      sure .     Is there some reason that
  18    you 're p repared to op ine that the wrongfu l
  19    ta kedown not ice s hav e re sulted in certain
  20    speci fic lo st pro fits , but that you 're not
  21    prepared to op ine that the rest o f the notices ,
  22    which 1 ,11 refer to as the rightful notices,
  23    re sulted in the re st of the lost p ro fit s?

  24                      MR. THOMPSON: Objection.
  25              Incomp lete .      Calls for a legal


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                                                                            Page 97
   1    Bu lga ria I saw .
   2                      But in any event , Mr . Titov
   3    te stified that if a file is actua lly infring ing ,
   4    and it 's rem oved from Hot file due to a notice ,

   5    that Hotfile doesn't consider itself injured as a
   6    result of the loss of that infring ing file .
   7                      Do you agre e that H ot file is not

   8    injured by taking down a file that is, in fact,
   9    cop yright in fring ing ?
  10                      MR .   THOMPSON : Objection. Vague.
  11              calls for a legal conclusion , and to the
  12              extent it states M r . Titov 's te stim ony .
  13                      M R . FABR IZIO :         1 111 take m y
  14              chances on that one .
  15                      THE W ITNEss :          W ell, I 'm n ot sure I
  16              understand the full context of the
  17              que stion , b ecau se it 's my understanding
  18              that Hot file ha s a p olicy o f not a llow ing
  19              infringing material and taking down
  20              m ate ria l for wh ich it receive s notice
  21              that it 's infring ing , so that would n ot
  22              be a part of its expectation of revenue .
  23              Q.      so infringing files are not part
  24    of Hotfile 's expectation of revenue, to your
  25    understanding?


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                                                                       page 98
   1              A.     That is my understanding, yes.
   2              Q.     And do you have that understanding
   3    throu gh peop le at H ot file ?
   4              A.     N ot spec ifically , but from my
   5    review of the m ate ria ls and m y understand ing o f
   6    Hotfile 's policy of taking down material for
   7    wh ich it receiv es n otice that the copyright owner
   8    does not con cur th at that is app ropr iately on the
   9    Hotfile site .     And that 's what Hotfile doe s, it
  10    takes tho se file s down .

  11              Q.      so from an economic perspective,
  12    if Hotfile rem ov es from its site a file th at is,
  13    in fact , copyright in fr inging , that does not
  14    a ffect H otfile 's exp ected rev enue s?
  15                      MR .   THOMPSON: Objection. Vague
  16              and overb road .
  17                      THE W ITN ESS :         Well z for -- with
  18              resp ect to it s policy of not hav ing
  19              infringing files and taking them down
  20              t im ely wh en they hav e receiv ed not ice ,
  21              wh ich I u nderstand is their p olicy and
  22              obligation, yes.            It 's my understanding
  23              that business models is based on users
  24              using the site to store and share files
  25              for which they have rights.


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                  Q.               Warner Brothers had
        mistakenly sent a takedown notice to Hotfile for
        a file that in fact contained a Disney movie, an
        infrin ging copy o f a W alt D isney m ov ie , is

        Hotfile injured by removing the infringing copy
        o f th e Disney m ov ie ?

                         MR. THOMPSON: Objection. Calls
                  for a legal conclusion .
                          THE W ITNESS :         We ll, if
                  understand th e context of your question ,
                  p erhaps not sp ecifically w ith re sp ect to
                  that file , bu t th ere are oth er potential
                  imp act s on the bu siness in t erm s o f its
                  operat ion s and its goodwill and
                  repu tat ion .
                  Q.      There are other potential impacts
        on the bu siness and its goodw ill a s a resu lt o f
        Hot file rem oving          in fringing copy o f a Disney
        movie ?
  20                      N ot from               as I sa id in m y
        answer , n ot from a sp ecific rem ov al, wh ich is

        appropriate, and according                    its policy, no .

                  Q.      Well, let me lust put                    this
  24    way .

                          Does it matter in terms of


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        Hotfile 's lost p rofit s or -- strike that .

                          In terms of injury to Hotfile,
        doe s it m ake a d ifference whether W arner Brothers
   4    send s a notice for an in fringing copy o f a Disney
        m ov ie , or Disne y sends a not ice for in fringing
        cop y of a Disney m ovie ?

                         MR. THOMPSON: Objection.
                  Incomp lete hypothetical .              V agu e .
                          THE W ITNESS :         If I understand your
                  que stion corre ct ly , no .            Because in
                  eiiher case           is material that the
  12              cop yrighted ow ner does not agree b elon gs
                  on the web site .
                  Q.      Mr . Titov also testified that if a
        cop yrighted ow ner rati fied W arner Brother 's
        authority       h av e sent a notice to Hotfile , then
        Hotfile would not con sider th at notice to be
        wrongfu l .
  19                      Giv en our prior d iscu ssion , d o you
  20    agree th at if Warner send s               takedown notice t o
        Hotfile for a wor k th at is in fact in fringing ,
        and that the copyright owner later ratifies
        Warners h av ing sent the notice , do you agree that

        that notice doesn 't cause Hotfile injury?
                          MR. THOMPSON: Objection. Calls

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                                                                             Page 1O2
   1              n ot be considered legally as a wrongfu l
   2              takedown not ice , th en that wou ld have a
   3              straigh tforward imp act on m y m od el for
   4              Exhibit 1.
   5              Q.      Yes, but you 've reduced my
   6    que stion to m ath .
   7              A.      That 's m y favorite a rea .
   8              Q.      I know, one of mine, too.                 I 'm a
   9    frust rated econom ist and techno logist .
  10                      so 1et m e try and pu t a little b it

  11    of it back on your judgment.
  12                      You have previously testified that
  13    i f a file is actu ally in fringin g, the impa ct to
  14    Hotfile is the sam e regardless of who send s
  15    H otfile the not ice , correct ?
  16                      MR .   THOMPSON: Objection. Vague
  17              and m isstates test im ony .
  18                      THE w ITNEss :          If I 'm reca lling the
  19              earlie r que st ion with in the con text o f
  20              the -- w ith in the context th at I
  21              understand , if it 's a copyrighted
  22              material that shouldn 't be on the
  23              website, yes .         It doesn 't matter who
  24              sends the notice in terms of economic
  25              impact .


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                                                                           Page 1O6
   1    term inated , had b een a ssigned th ree                   m ore
        strikes w ithout cou nt ing any st rike s assigned
        from a Wa rner notice for any of the A through D
   4    files , it 's your understanding is it not , that
   5    th at u ser wou ld have b een term inated by Hotfile
        und er its po licy , wheth er              not W arne r had ever
        sent its notice s?

                         MR. THOMPSON : Objection. Vague
                  and incomp lete .
                          THE W ITNESS :         If I 'm understandin g
                  your hyp oth et ical qu est ion , p utting aside
                  the di fficu lty o f assign ing causality , if
                  there 's equally at-cau se agents then

                  w ou ldn 't necessa rily b e th e case th at
                  W arn er wa s associated necessa rily w ith
                  th e te rm ination of that u ser .
                  Q.      Well, Mr . Titov testified that in
        th at case wh ere a u ser w as assigned th ree strikes
        w ithout countin g any of the Warner strikes, th at
  20    Hot fi le did not con sider              d id not con sider that
        a w rong ful term ination .
                          In your understanding of the
        Hotfile system , do you have reason to disagree

        with him ?
                          M R . THOM PSON :        Excu se m e .


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   l              Objection. Incomplete hypothetical.
   2              overbroad .
   3                             Y ou can answ er .

   4                      THE W ITNE SS :         I d o not hav e any

   5              reason to agree w ith him --
   6              Q.      Agree or disagree?
   7              A.      I do not h av e any reason to
   8    disag ree with h im , so ...
   9              Q.      Take it out of the negatives .
  10                      Giv en your understandin g o f the
  11    Hotfile system and its policy, if a user has
  12    th ree strike s w ithout counting any strikes from
  13    Wa rner notices, that file -- th at user is
  14    p rope rly term in ated , correct ?
  15                      MR .   THOMPSON: Again, objection .
  16              A ssum es facts .       Incomp lete hypothetical .
  17                      THE W ITNESS :          G iven m y
  18              understand ing o f Hotfile 's p olicy and
  19              their imp lementation o f the p olicie s
  20              since Feb ru ary, that u ser wou ld be
  21              t erm inated .
  22              Q.      And that user would be terminated
  23    p rop erly , co rre ct ?

  24                      MR. THOMPSON: Objection. Calls
  25              for a lega l conclu sion .


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                    Q.    Let me sort of put
        di fferent ly .
                          W e h av e p reviou sly tal ked about a
        situation where a u ser wa s term inated b ased on a
        w rong ful not ice , and        b elieve you re ferred to
        th at as a w rong ful term in ation .
                          If a user w as term in ated b ecau se
   8    of th ree strike s having noth ing to do with W arner
        notices, you w ou ld not consider th at                     wrongfu l
        term inat ion , w ou ld you ?

                          MR. THOMPSON: Objection. Calls
  12                for a legal con clusion .
                          THE W ITNE SS :        If I 'm understanding
  14                the context of the quest ion , th at would
  1:                b e correct .

                    Q.    Have you analyzed whether that
        ev er happ ened , whether any of the u sers th at were
  18    term inated -- str ike that .
  19                      H ave you ev er analyzed whether any
  20    of th e u sers th at re ce ived strikes b ased                   th e A
        th rou gh     notices already h ad three strike s
        without counting the strikes assigned by the
        Warner notices?
                    A.     I have not done that analysis.
                    Q.     Did you personally review any of

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                                                                         Page 130

   z                             2:co p .m .)
   2    BY M R . FABR IZIO :

   3              Q.     Good afternoon, Dr. Lynde . How
   4    wa s lunch ?
   5              A.     Good afternoon .             It w as okay .
   6              Q.     Well, he 's not that good a host,
   7    huh ?
   8              A.     W e outsourced it , so it 's not
   9    Farella 's call .

  10              Q.      You would agree with me, would you
  11    not , that i f Hotfile only b egan assign ing strikes
  12    ba sed on not ices on February 18, 2 011 , that any
  13    of the file s on Exh ib it A th rou gh D that were the

  14    subject of notices sent before February 18, 2011
  15    cou ld not h ave resulted in users being term inated
  16    as a resu lt of the W arne r notices?
  17                      MR .   THOMPSON: Objection.
  18              Incomp lete hyp oth et ical .
  19                      THE W ITN Ess :        If I unde rstand your
  20              question correctly , and th e d ate of th e
  21              initiation o f the p olicy , for involuntary
  22              term inations due to that policy r I
  23              believe that would be correct .
  24              Q.      Did you look at the Exhibit A
  25    through D files to determ ine whether any of them


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                                                                      Page 170
   1                     Just kidding .
   2              A      It 's comp lex .

   3              Q.     That was a joke. I was just
   4    hav ing som e fun .
   5                     Do you have an y evidence , and did
   6    you consider any ev idence that any Hot file u ser
   7    failed to pu rcha se a p rem ium account as a result
   8    of the takedown notices reflected on Exhibits A
   9    th rou gh D of the coun terclaim ?
  10              A.      Failed to p urchase an account?
  11    Well , that -- I don 't b elieve th at data set would
  12    exist since those are a11 the people for which
  13    the re wou ld be no reco rds .
  14              Q.      so then the answer would be, no,
  15    you don 't ?   You 're not aware of any ev idence ?
  16              A.      Nor wou ld any ex ist logically .
  17              Q.      Do you have any evidence that any
  18    user failed to pu rchase a p rem ium Hot file account
  19    because of any Warner Brothers takedown notices?
  20              A.      once again , if I und erstand the
  21    question correctly , the re wouldn lt b e an y such
  22    evidence since those are all the subscribers that
  23    are -- potential subscribers that are invisible
  24    to us.    They are the ones that did not choose a
  25    subscription by definition .


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                                                                      Page 171
   1                 Q.     okay .    Are you aware of any
   2    ev idence that any Hotfile prem ium u ser
   3    voluntarily cancelled the ir sub script ion as a
   4    resu lt of any o f the takedow ns reflected on
   5    Exhibits A through D of the counterclaim ?
   6                 A.     I am not aw are o f sp ecific
   7    ev idence with regard to sp ecific p rem ium
   8    sub scribers m aking that cho ice .
   9                 Q.     Too many ''specifics'' in there for
  10    me       let m e t ry this on e m ore time .
             ,

  11                        Can you identify a single H ot file
  12    prem ium use r who cancelled his or her
  13    subscription from Hot file a s a resu lt o f th e
  14    ta kedown notices reflected on Exh ib it s A throu gh
  15    D of the cou nt ercla im ?
  16                 A.     I 'm not aw are o f ev id en ce with
  17    re gard to a single u ser .
  18                 Q.     Let me broaden that .
  19                        A re you aware of any Hotfile
  20    prem ium u ser s who can ce lled th eir prem ium
  21    sub scrip tion as a result o f any takedown notices
  22    sent to Hotfile by Warner Brothers?
  23                 A.     I am not aware of specific
  24    evidence with regard to any group of premium
  25    users with respect to those takedown notices.


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   l              Q.     You 're killing me with the
   2    ''sp ecific s'' here .
   3                     A re you aware o f a single Hot file
   4    prem ium u ser wh o cancelled h is or h er prem ium
   5    sub script ion as a result of any taked own notices
   6    sent by W arn er Broth ers?
   7              A.      I am n ot aware of such sp ecific
   8    evidence .
   9              Q.     Are you aware of a single Hotfile
  10    prem ium u ser th at was inv oluntarily te rm inated as
  11    a resu lt o f a strike assigned from a notice for
  12    one o f th e Exhib it A through D works?

  13                     MR. THOMPSON: Objection. Asked
  14              and an swered .
  15                      THE w ITNEss :         I am not aw are o f a
  16              specific instance of such .
  17              Q.      Are you aware of any Hotfile user,
  18    prem ium o r oth erw ise , th at wa s inv oluntarily
  19    term inated as a re sult of the takedown notices
  20    for th e files on Exhib its A through D o f the
  21    counterclaim ?
  22              A.      I 'm not aware of any such speci fic
  23    evidence .
  24              Q.      You understand that Hotfile has
  25    users that can register as affiliates, correct?


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   l    being interested          subscribing              current
        subscribers term inating their subscription .                 And
   3    that this information,               fact, could expand over
   4    tim e .
   5              Q.     I realize that 's an assumption of
        your damages model .        My question, though , is to
        try to -- to try to figure ou t whether th ere was
        any evidence of any adverse effect on Hotfile's
        business reputation or goodwill com ing from the
        Exhib it A th rough D taked own s?
                  A.        do not have specific ev idence
        from the Exhib it A through D ta kedown s to
        reput ation o r goodw ill .
                  Q.     Are you aware that any takedown
        notice sent by Warner B rothers ha s had an adve rse
        imp act      Hotfile 's b usiness repu tat ion or
        goodw ill?
                            am not sure              understand the

        distinction --
  20                      My first question --
                  A.          b etween the questions .
                  Q.      My first question was related to
        the A throu gh D wor ks ; m y second que stion was
  24    re lated to any Warner takedown not ice .
                          So with that clarification, let me


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   1    just ask the question in a whole.
   2                     A re you aw are o f any W arner
   3    Brothers takedown notice that has resulted in an
   4    adverse impact on Hotfile 's business reputation

   5    or goodwill?
   6              A.      I 'm not awa re of any such sp ecific
   7    ev idence .
   '              Q.     A re you aware of any evidence of
   9    negat ive feedb ack from users -- strike that .
  10                     A re you aw are o f any ev idence of
  11    negat ive feedb ack from users ba sed on the
  12    taked own not ice s reflected on Exh ibit s A th rough
  13    D of the counterclaim ?

  14                     MR. THOMPSON: Objection.
  15              Ov erb road and vague .
  16                      THE W ITN ESS :        I 'm n ot aware of
  17              sp ecific evidence w ith resp ect to user .
  18              Q.      I ,m broadening it to all of
  19    W arner s ' taked own not ices .
  20                      A re you aware of any negativ e
  21    feedb ack from any Hotfile u ser related to any
  22    takedown notice sent by Warner Brothers?
  23              A.      I 'm not aware of specific evidence
  24    on that .

  25              Q.      Are you aware of any negative

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                                                                             Page
                           Hav e you incurred add itional --
   2    have you billed additional time to this matter in
        December ?
   4                          have .

                  Q.       And has your team billed
        additional time            this matter in December?
                  A.          be lieve m ost                the tim e ha s
        been mine, in preparation for this deposition .
                  Q.        Do you believe                  is a fair
        statem ent that as of t oday i f you count you r
        hours approved for your deposition, that
        Corne rstone R esearch has accrued m ore than

        $20,000 worth of fees                this matter?
                  A.        Th at 's l ikely to be the ca se .
                  Q.                 you look at Schedule               of
        Lynde Exh ib it         Corn erstone Research has
        probably incurred more fees twice -- strike
        th at .
                            Cornerstone Re search ha s incurred
        more fees in th is case th an the total dam age you
        est im ate        Sch edu le 1?
                  A.          be lieve that 's correct .
                     Q.     And the total you estimate in
        Sch edu le         as w ell?
                     A.     Correct .


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                       MR           FABRIZIO :            Okay .          I ,m good .                                                  k
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     2    Thank you, Dr. Lynde.                                                                                                        l
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     3                              (Time noted : 5:59 p .m .)                                                                         1
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                             Errata to the D eposition ofM atthew R .Lynde
                                            D ecember 16,2011
                             DisneyEnterprises,Inc.etal.v.HofleCorp.,etal.
                             Ho6letDr#.,eta1.v.DisneyEntetprises,Inc.etal.
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               C E R T      F I C A T E
         STA TE OF CA L IFORNIA


         COUN TY O F SAN FRANC ISCO
               1, LINDA VACCAREZZA , a Certified
         Shorthand Rep orter fo r the State o f
         C alifornia, do hereb y cert ify :
               That MATTHEW LYN DE , the witn ess
         wh ose dep osition is h ereinbe fore set
         forth , was du ly sworn b y m e and that su ch
         d ep osition is a true record of the
         t est imony giv en by such witn ess .
                   fu rther certify that I am not
  14     related to any of the parties                    this
         action b y b lood        m arriage ; and that
         am in       way interested in the outcome of
         thi s m atter .
                 IN W ITNE SS WHEREOF ,         have h ereunto

  19     set m y hand th is 29th day of Decemb er
  20     2011 .




           LIN DA VACCARE ZZA , CSR . NO . 10201




                           TSG Reporting-Worldwide (877)702-9580
